Case 1:04-cv-Oll72-.]DT-STA Document 16 Filed 05/03/05 Page 10f2 Page|D/%<`

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Unlted States Dlstnct Court :g/:,O//;? `<2)
wEsTERN DISTRICT oF TENNESSEE %O<°@,Q/a
Eastern Division LYL?,;/ if

JUDGMENT IN A CIVIL CASE
LAR_RY LONG
v.
COMMISSIONER OF CASE NUMBER: 1:04-1172-T/An
SOCIAL SECURITY,

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in
the above-styled matter on 4/28/2005, the Commissioner's decision is AFF|RMED, and
this case is hereby D|SM|SSED.

 

 

 

APPROVED;
S D TODD
ED STATES DISTRICT JUDGE
ROBERT R. Di TROLIO
CLERK
§izi®§ BY: C 94&/`11'
DATE ' ' DEPUTY CLERK

This document entered on the docket sheet in compliance

with Rule 58 andfor 79(a) FRCP on §

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Honorable J ames Todd
US DISTRICT COURT

